                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION


UNITED STATES OF AMERICA,                             )
                                                      )
                              Plaintiff,              )
                                                      )
       v.                                             )      Criminal Action No.
                                                      )      18-00153-01-CR-W-RK
JOEL JEROME TUCKER,                                   )
                                                      )
                              Defendant.              )


                                 ORDER OF CONTINUANCE

       On June 5, 2018, the Grand Jury returned an Indictment charging defendant withtwelve

counts of Interstate Transportation of Stolen Money in violation of 18 U.S.C. §2314, with two counts

of Bankruptcy Fraud in violation of 18 U.S.C. §157, and with one count of Falsification of Record in

Bankruptcy in violation of 18 U.S.C. §§1519 and 2. This criminal action is currently set for trial

on the joint criminal trial docket which commences April 20, 2020.

       On March 31, 2020, defendant Tucker, by and through counsel, filed a motion for

continuance and suggestions in support thereof. The suggestions in support of the defendant's

motion for continuance state, in part, as follows:

               Pursuant to the Chief District Court Judge’s Superseding General
               Order entitled Court Operations Under the Exigent Circumstances
               Created by the Outbreak of Coronavirus Disease (COVID-19)
               dated March 24, 2020, all civil and criminal (grand and
               petit) jury selections and jury trials scheduled to commence before
               any district or magistrate judge in the Western District of Missouri
               between March 24, 2020, and May 3, 2020, are continued.

               Undersigned counsel has discussed the continuance issues with the
               Magistrate’s office and then contacted Assistant United States
               Attorney Kate Mahoney. The parties mutually agree that a
               continuance to the joint criminal docket of July 6, 2020, will be




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               sufficient to prepare for trial and/or to negotiate a resolution of the
               case without the necessity of a trial.

       The Speedy Trial Act of 1974, as amended, mandates the commencement of the trial of a

defendant within 70 days from the defendant's first appearance before a judicial officer of the

Court in which the charge is pending. In computing the 70-day time period, the periods of delay

set forth in 18 U.S.C. ' 3161(h) are to be excluded. Any period of delay resulting from a

continuance granted at the request of a defendant is excludable if the Court finds the ends of

justice served by the taking of such action outweigh the best interest of the public and the

defendant in a speedy trial, provided the Court sets forth the reason for such finding.

       Section 3161(h)(7)(C) provides that a continuance shall not be granted because of general

congestion of the Court's calendar. In ordering this case removed from the joint criminal jury

trial docket which will commence April 20, 2020, and continuing the trial until the joint criminal

jury trial docket which will commence July 6, 2020, the Court is not doing so because of

congestion of its calendar.

       The Court finds that:

             1.      In light of the circumstances set out in the above-quoted portion of the
                     suggestions in support of the motion for continuance, it would be
                     unreasonable to expect defense counsel to prepare this criminal action
                     adequately for trial prior to July 6, 2020;

             2.      In light of the circumstances set out in the above-quoted portion of the
                     suggestions in support of the motion for continuance, failure to
                     remove this criminal action from the joint criminal jury trial docket
                     which will commence April 20, 2020, and grant a continuance likely
                     would result in a miscarriage of justice;

             3.      In light of the circumstances set out in the above-quoted portion of the
                     suggestions in support of the motion for continuance, failure to
                     remove this criminal action from the joint criminal jury trial docket
                     which will commence April 20, 2020, and grant a continuance would
                     deny defense counsel the reasonable time necessary for effective




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                         preparation and thus would deny the defendant his right to effective
                         assistance of counsel; and

              4.         In light of the circumstances set out in the above-quoted portion of the
                         suggestions in support of the motion for continuance, the ends of
                         justice served by removing this criminal action from the joint criminal
                         jury trial docket which will commence April 20, 2020, and granting a
                         continuance outweigh the best interest of the public and the defendant
                         in a speedy trial.

      It is therefore,

      ORDERED that the motion for continuance of this criminal action filed by defendant

Tucker on March 31, 2020, (Doc. No. 33) is GRANTED and that this criminal action is removed

from the joint criminal jury trial docket which will commence April 20, 2020. It is further

      ORDERED that this criminal action is set for trial on the joint criminal jury trial docket

which will commence July 6, 2020. It is further

      ORDERED that the pretrial conference is set for Thursday, June 18, 2020, at 1:30 p.m., in

Courtroom 7E. It is further

      ORDERED that, pursuant to 18 U.S.C. ' 3161(h), the time between the date of this Order

and July 17, 2020, shall be excluded in computing the time within which the trial of this criminal

action must commence.



                                                          /s/ JOHN T. MAUGHMER
                                                                JOHN T. MAUGHMER
                                                            United States Magistrate Judge

Kansas City, Missouri




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